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VIA ECF

The Honorable Katherine Polk Failla
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Room 2103
New York, NY 10007

June 28, 2023

Re:    Huzhou Chuangtai Rongyuan Inv. Mgm’t P’ship et al. v. Qin, No. 1:21-cv-9221-KPF

Dear Judge Failla,

        We write on behalf of Seiden Law LLP (“Seiden Law”) to request that the Court set a
briefing schedule with respect to Petitioners’ renewed motion for sanctions against Seiden Law
(ECF 179). We respectfully request the following briefing schedule:

       •    Seiden Law’s opposition due July 17, 2023
       •    Petitioners’ reply due August 3, 2023

       Petitioners consent to the briefing schedule set forth above.



                                                                Respectfully submitted,

                                                                /s/ Xintong Zhang
                                                                Xintong Zhang


cc: All counsel of record (via ECF)




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